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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION



  JESSICA JONES, et al.,                   Case No. 2:20-cv-02892-SHL-tmp

                  Plaintiﬀs,

  v.

  VARSITY BRANDS, LLC, et al.

                  Defendants.

                                           JURY DEMAND



   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
               TO DROP PARTY UNDER FED. R. CIV. P. 21




           MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
                      TO DROP PARTY UNDER FED. R. CIV. P. 21
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          Plaintiffs Jessica Jones, Michelle Velotta, and Christina Lorenzen (“Plaintiffs”)

  respectfully submit this Memorandum of Law in support of Plaintiffs’ Unopposed Motion to

  Drop Party Under Fed. R. Civ. P. 21 (“Motion”) in the above-captioned action (the “Jones

  Action”).

                                       I.     INTRODUCTION

          Fact discovery is coming to a close in this case. Plaintiff Michelle Velotta has ceased

  participating in discovery, and has ceased returning phone calls and email communications from

  her counsel for the purpose of counseling her, preparing her for her deposition, and otherwise

  enabling her to perform the role of a class representative as required by Fed. R. Civ. P. 23. Other

  Plaintiffs in this case will act as class representatives, and as a result there will be no prejudice or

  material difference in the litigation as a result of dropping Ms. Velotta as a party to this action.

  Ms. Velotta will be able to participate in whatever recovery may result – if any – as an absent

  class member. Defendants in this action do not oppose this Motion, and the parties have agreed

  that each party shall bear its own costs and fees in respect to the dismissal of Ms. Velotta as a

  putative class representative.

                                     II.    LEGAL STANDARDS

          In the Sixth Circuit, the proper way to drop a party to a lawsuit, without dismissing the

  whole action, is by motion under Rule 21. Philip Carey Mfg. Co. v. Taylor, 286 F.2d 782, 785

  (6th Cir. 1961); United States ex rel. Doe v. Preferred Care, Inc., 326 F.R.D 462, 464 (E.D. Ky.

  2018) (“district courts in this circuit routinely apply Taylor when plaintffs attempt to dismiss less

  than the entire controversy,” citing cases). The situation in the Preferred Care case is instructive.

  There, the plaintiffs and some defendants submitted a stipulation pursuant to Fed. R. Civ. P. 41

  seeking to dismiss claims against some but not all defendants. 326 F.R.D. at 463. The court there


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  noted that Rule 41 was not the proper procedural mechanism, and converted the stipulation into a

  motion under Rule 21 and granted the motion. See also Cosby v. KPMG, LLP, 2020 WL

  3529659, at *3 (E.D. Tenn. June 29, 2020) (allowing withdrawal of class representative under

  Rule 21 and noting that “[o]n motion or on its own, the court may at any time, on just terms, add

  or drop a party”); id. (quoting Organization of Minority Vendors, Inc. v. Illinois Central-Gulf

  R.R., No. 79 C 1512, 1987 WL 8997, at *1 (N.D. Ill. Apr. 2 1987)) (finding that “[a]bsent a good

  reason … a [named] plaintiff should not be compelled to litigate if it does not wish to”). Here,

  the parties agree to the relief. The proper procedural vehicle is being used and no prejudice will

  result to any present party or to Ms. Velotta. For the reasons set forth above, and the interests of

  judicial economy and efficiency consistent with Fed. R. Civ. P. 1, it is respectfully submitted that

  the Court should grant this joint motion.




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  Dated: April 5, 2022                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 5, 2022, I served a copy of the foregoing document via the

  Court’s ECF system, eﬀecting service on all interested parties.


                                                    /s/ Joseph R. Saveri
                                                    Joseph R. Saveri




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                                      CERTIFICATE OF SERVICE
